CERTIORARI. The record showed that the parties appeared on the 16th of September, 1865, and the defendant claimed a postponement of the case, and the case continued to Saturday the 30th inst. And now, to wit, this day, Sept. 23rd, 1865, the plaintiff appears and the defendant by his attorney, J. Pratt, Esq., and ready for trial. The defendant demands a trial by referees, whereupon summons was issued for the referees therein named who appeared, were duly qualified according to law, and after having heard the allegations of the parties and their proofs, and maturely considering the same, reported in writing under their hands that they found for the plaintiff thirty-seven dollars, being the full amount claimed. And now, to wit, Sept. 23rd, 1865, Judgment is hereby given for the plaintiff against the defendant for thirty-seven dollars c. The exception was that the case was adjourned from the 16th to the 30th of September, 1865, and it was not competent for the justice to hear the case and enter judgment in the mean while.
By the Court. It appears by the record that the parties appeared voluntarily on the 23d of Sept. as ready for trial and that the defendant asked for a trial by referees; the court must therefore infer that the case was heard and concluded that day by the mutual consent of the parties, and the defendant was consequently estopped from objecting to the judgment on that ground. The judgment below must therefore be affirmed. *Page 215 